             Case 5:18-cv-05919-BLF Document 39 Filed 01/24/19 Page 1 of 4




 1    Michael L. Fox (SBN 173355)
      DUANE MORRIS LLP
 2    Spear Tower
      One Market Plaza, Suite 2200
 3    San Francisco, CA 94105-1127
      Telephone: +1 415 957 3000
 4    Fax: +1 415 957 3001

 5    Robin McGrath (Admitted Pro Hac Vice)
      Rebecca M. Lamberth (Admitted Pro Hac Vice)
 6    Kenneth B. Franklin (Admitted Pro Hac Vice)
      DUANE MORRIS LLP
 7    1075 Peachtree NE, Suite 2000
      Atlanta, GA 30309-3929
 8    Telephone: +1 404 253 6900
      Fax: +1 404 253 6901
 9    E-mail:mlfox@duanemorris.com
             rlmcgrath@duanemorris.com
10           rmlamberth@duanemorris.com
             kbfranklin@duanemorris.com
11
      Attorneys for Defendants
12    MOVE, INC., and NATIONAL ASSOCIATION OF
      REALTORS
13

14
                             IN THE UNITED STATES DISTRICT COURT
15
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
16

17
     COURTNEY SILVERMAN, individually and on             Case No.: 5:18-cv-05909-BLF
18   behalf of all others similarly situated,
                                                        JOINT STIPULATION OF THE
19                         Plaintiff,                   PARTIES TO CONTINUE CASE
                                                        MANAGEMENT CONFERENCE
20             v.
                                                        [PROPOSED] ORDER
21   MOVE, INC., a California Corporation, and
     NATIONAL ASSOCIATION OF REALTORS, and
22   Illinois Corporation,

23                         Defendants.                  Complaint Filed:   September 26, 2018

24

25             WHEREAS, Plaintiff COURTNEY SILVERMAN (“Plaintiff”) filed her Class Action

26   Complaint (Dkt. No. 1) on September 26, 2018;

27             WHEREAS, Defendants MOVE, INC. (“Move”) and NATIONAL ASSOCIATION OF

28   REALTORS (“NAR”) (collectively “Defendants”) received service of summonses on or about
     DM1\9326082.1
     JOINT STIPULATION OF THE PARTIES TO CONTINUE CASE MANAGEMENT CONFERENCE
     [PROPOSED] ORDER                                             CASE NO.: 5:18-CV-05909-BLF
              Case 5:18-cv-05919-BLF Document 39 Filed 01/24/19 Page 2 of 4




 1   October 5, 2018 and October 10, 2018, respectively;

 2             WHEREAS, the parties previously stipulated, pursuant to Civ. L.R. 6-1(a), to provide

 3   Defendants with an extension of time until November 26, 2018 and then again to December 10,

 4   2018, to answer or otherwise respond to the complaint (Dkt. Nos. 11 and 24);

 5             WHEREAS, pursuant to the extensions, on December 10, 2018, NAR filed its Motion to

 6   Dismiss for Lack of Personal Jurisdiction and Failure to State a Claim (Dkt. No. 25), and Move filed

 7   its Motion to Compel Arbitration and to Dismiss, or in the Alternative, to Stay, the Case (Dkt. No.

 8   27), and the hearings are presently scheduled for May 23, 2019, at 9:00 a.m.

 9             WHEREAS, pursuant to the parties’ stipulation (Dkt. No. 29), the Court modified the

10   briefing schedule to (a) extend the time for Plaintiff to respond to Defendants’ Motions up to and

11   including January 28, 2019, and (b) extend the time for Defendants to file their reply papers by

12   seven (7) days, up to and including February 11, 2019 (Dkt. No. 31);

13             WHEREAS, on January 23, 2019, Move filed an Amended Motion to Compel Arbitration

14   and to Dismiss, or in the Alternative, to Stay, the Case (Dkt. No. 37), to include supplemental

15   authority issued after it filed its initial Motion, and the hearing is still presently scheduled for May

16   23, 2019, at 9:00 a.m.

17             WHEREAS, after reassignment, the Court reset and scheduled the initial Case Management

18   Conference (“CMC”) for February 7, 2019, at 11:00 a.m. (Dkt. No. 23);

19             WHEREAS, given the complex threshold jurisdictional issues to be resolved by Defendants’

20   Motions, including the new issues raised by Move’s Amended Motion, the parties believe the CMC

21   should be continued for at least six (6) weeks, to March 21, 2019, at 11:00 a.m., so they can (a)

22   further meet and confer regarding potential modification of the briefing schedule, (b) engage in a

23   meaningful meet and confer process pursuant to Fed. R. Civ. P. 26(f), Civ. L.R. 16-3, and the

24   Court’s Standing Orders after briefing the Motions, and (c) further meet and confer regarding an

25   additional continuance of the CMC until after the hearing on Defendants’ Motions;

26             WHEREAS, this stipulation is not made for any improper purpose and will not prejudice any

27   party;

28            WHEREAS, this stipulation is not intended to operate as an admission of any factual
     DM1\9326082.1                                    2
     JOINT STIPULATION OF THE PARTIES TO CONTINUE CASE MANAGEMENT CONFERENCE
     [PROPOSED] ORDER                                             CASE NO.: 5:18-CV-05909-BLF
             Case 5:18-cv-05919-BLF Document 39 Filed 01/24/19 Page 3 of 4




 1   allegation or legal conclusion and is submitted subject to and without waiver of any rights, defenses,

 2   affirmative defenses, or objections, including personal jurisdiction, insufficient process, or

 3   insufficient service of process; and

 4             WHEREAS, the requested modifications will not otherwise impact the schedule for the case;

 5                                                STIPULATION

 6             NOW, THEREFORE, Plaintiff and Defendants stipulate and agree as follows:

 7             1.     Pursuant to Civil L.R. 6-2, and subject to the Court’s approval, to continue the initial

 8   Case Management Conference, currently scheduled to occur on February 7, 2019, at 11:00 a.m., to

 9   March 21, 2019, at 11:00 a.m.;

10             2.     That, by entering this Stipulation, the Parties do not admit any factual allegation or

11   legal conclusion and do not waive any rights, defenses, affirmative defenses, or objections, including

12   personal jurisdiction, insufficient process, or insufficient service of process.

13   Dated: January 24, 2019                             DUANE MORRIS LLP
14
                                                     By: /s/ Michael L. Fox
15                                                       Michael L. Fox
                                                         Robin McGrath
16                                                       Rebecca M. Lamberth
                                                         Kenneth B. Franklin
17                                                       Attorneys for Defendants
                                                         MOVE, INC., and NATIONAL ASSOCIATION
18                                                       OF REALTORS
19   Dated: January 24, 2019                             FLAHERTY HENNESSY, LLP
20
                                                     By: /s/ Sarah L. Hennessy**
21                                                       Sarah L. Hennessy
                                                         Attorneys for Plaintiff
22                                                       COURTNEY SILVERMAN
23   Dated: January 24, 2019                             ZEBERSKY PAYNE SHAW LEWENZ, LLP
24
                                                     By: /s/ Jordan A. Shaw**
25                                                       Jordan A. Shaw
                                                         Attorneys for Plaintiff
26                                                       COURTNEY SILVERMAN
27                                                **Pursuant to Civ. L.R. 5-1(i)(3), the electronic signatory
28                                                has obtained approval from all other signatories
     DM1\9326082.1                                        3
     JOINT STIPULATION OF THE PARTIES TO CONTINUE CASE MANAGEMENT CONFERENCE
     [PROPOSED] ORDER                                             CASE NO.: 5:18-CV-05909-BLF
             Case 5:18-cv-05919-BLF Document 39 Filed 01/24/19 Page 4 of 4




 1                                           [PROPOSED] ORDER
 2   PURSUANT TO STIPULATION, IT IS SO ORDERED:
 3
               1.    The initial Case Management Conference, currently scheduled to occur on February 7,
 4
     2019, at 11:00 a.m., is continued to March 21, 2019, at 11:00 a.m.
 5
               2.    By entering their Stipulation, the Parties have not admitted any factual allegation or
 6

 7   legal conclusion and have not waived any rights, defenses, affirmative defenses, or objections,

 8   including personal jurisdiction, insufficient process, or insufficient service of process.

 9   DATED: January ____, 2019
10                                                           _________________________________
11                                                           The Honorable Beth Labson Freeman
                                                              United States District Court Judge
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     DM1\9326082.1                                       4
     JOINT STIPULATION OF THE PARTIES TO CONTINUE CASE MANAGEMENT CONFERENCE
     [PROPOSED] ORDER                                             CASE NO.: 5:18-CV-05909-BLF
